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8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )          CASE NO. CR S 07-120 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND
                                   )          ORDER TO EXCLUDE TIME
14   JOSHUA LANE, et.al.           )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17

18        The United States of America and Defendant Joshua Lane,
19   request that the status conference in this case be continued from
20   September 18, 2009 to November 13, 2009 at 10:00 a.m.         They
21   stipulate that the time between September 18, 2009 and November
22   13, 2009 should be excluded from the calculation of time under
23   the Speedy Trial Act.    The parties stipulate that the ends of
24   justice are served by the Court excluding such time, so that
25   counsel for the defendant may have reasonable time necessary for
26   effective preparation, taking into account the exercise of due
27   diligence.   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
28   Specifically, the defense is still reviewing the discovery in

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1    this matter.     The government and the defendant are also in
2    continuing discussions about resolving this matter short of
3    trial.    The remaining defendants have not been arraigned and are
4    located in Canada.      The government is continuing its attempts to
5    have the remaining defendants extradited from Canada to the
6    United States.      The parties stipulate and agree that the
7    interests of justice served by granting this continuance outweigh
8    the best interests of the public and the defendant in a speedy
9    trial.    18 U.S.C. § 3161(h)(7)(A).
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11                                              Respectfully Submitted,
12                                              LAWRENCE G. BROWN
                                                United States Attorney
13

14   DATE: September 17, 2009            By:     /s/ Heiko P. Coppola
                                                HEIKO P. COPPOLA
15                                              Assistant U.S. Attorney
16

17   DATE: September 17, 2009                    /s/ Bruce Locke
                                                BRUCE LOCKE
18                                              Attorney for Defendant
19
                                                SO ORDERED.
20

21   DATE: September 17, 2009
                                                /s/ Edward J. Garcia
22                                              HON. EDWARD J. GARCIA
                                                U.S. District Judge
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